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                                 United States District Court
                                         EASTERN DISTRICT OF TEXAS
                                            TEXARKANA DIVISION




  UNITED STATES OF AMERICA                               §
                                                         §
  v.                                                     §                               5:19-CR-8
                                                         §
  JACORY DEWAYNE COULTER (2)                             §


                                   ORDER ADOPTING
                      THE AMENDED REPORT AND RECOMMENDATION
                        OF THE UNITED STATES MAGISTRATE JUDGE

          The above-styled matter was referred to the Honorable Caroline Craven, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

  Procedure. Judge Craven conducted a hearing on October 5, 2020, in the form and manner prescribed

  by Federal Rule of Criminal Procedure 11 and issued a Report and Recommendation (document #269).

  On October 15, 2020, Judge Craven issued an Amended Findings of Fact and Recommendation on

  Guilty Plea (document #270).1 In the Amended Findings of Fact and Recommendation on Guilty Plea,

  Judge Craven recommended that the Court accept Defendant’s guilty plea and conditionally approve

  the plea agreement. She further recommended that the Court finally adjudge Defendant as guilty of

  Count 4 of the Indictment, which charges a violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 860a,

  distribution and possession with intent to distribute methamphetamine on premises in which a minor is

  present. The Court is of the opinion that the Amended Report and Recommendation should be

  accepted. It is accordingly ORDERED that the Amended Report and Recommendation of the United

  States Magistrate Judge (document #270) is ADOPTED. It is further


          1
           The Amended Findings of Fact and Recommendation on Guilty Plea changed only the count number to which
  Defendant pleaded guilty. The original Recommendation stated Defendant pleaded guilty to Count 1, but the Amended
  Recommendation changed that to the correct count, which was Count 4.
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       .

           ORDERED that the Defendant’s guilty plea is accepted and approved by the Court. Further,

  the plea agreement is approved by the Court, conditioned upon a review of the presentence report. It

  is finally

           ORDERED that, pursuant to the Defendant’s plea agreement, the Court finds the Defendant

  GUILTY of Count 4 of the Indictment in the above-numbered cause and enters a JUDGMENT OF

  GUILTY against the Defendant as to Count 4 of the Indictment.


           SIGNED this 20th day of October, 2020.



                                                             ____________________________________
                                                             ROBERT W. SCHROEDER III
                                                             UNITED STATES DISTRICT JUDGE




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